        Case:17-11810-MER Doc#:48 Filed:07/21/17                              Entered:07/21/17 22:31:20 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Jul 19, 2017
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 21, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 21, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 19, 2017 at the address(es) listed below:
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman     mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO

   In re:                                )
                                         )
   JUDITH JEAN SCHNEIDER,                )
                                         )         Case No. 17-11810-MER
   Debtor.                               )
                                         )
                        vs.             )          Chapter 13
                                         )
   CVI LOAN GT TRUST I,                  )
                                         )
   Respondent / Lien Creditor.           )
   ______________________________________________________________________________

               ORDER GRANTING MOTION TO AVOID JUDICIAL LIEN
              OF CVI LOAN GT TRUST I PURSUANT TO 11 U.S.C. § 522(f)
   ______________________________________________________________________________

           THIS MATTER having come before the Court upon the Motion to Avoid Judicial Lien of
   CVI Loan GT Trust I Pursuant to 11 U.S.C. § 522(f) (the “Motion”)(docket no. 41), with regard
   to the judicial lien on the property known as 4316 East 113th Place, Thornton, Colorado, 80233,
   with the legal description of:

                  LOT 21, BLOCK 8, WOODGLEN, FILING NO. 6,
                  COUNTY OF ADAMS, STATE OF COLORADO.

   IT IS HEREBY ORDERED:

       1. That the Debtor’s Motion is GRANTED.

       2. The lien held by CVI Loan GT Trust I (“Creditor”) on the property located at 4316 East
          113th Place, Thornton, Colorado, 80233, is avoided and cancelled and Creditor’s judicial
          lien shall have no further force or effect as to said real property.




   DATED: July 19, 2017                               COURT
                                               BY THE C O RT
                                                        OU

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                                               Honorable
                                               Honora                Romero,
                                                    rable Michael E. R omero,
                                               United States Bankruptcy
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